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 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                 ) Case No.: 2:11-cr-00296-WBS
     UNITED STATES OF AMERICA,                     )
10                                                 ) ORDER MODIFYING CONDITIONS OF
                   Plaintiff,                      ) RELEASE FOR MOCTEZUMA TOVAR
11                                                 )
         vs.                                       )
12   MOCTEZUMA TOVAR,                              )
                                                   )
13                 Defendant.                      )
                                                   )
14                                                 )

15
16                                                 ORDER
17          IT IS HEREBY ORDERED that Mr. Tovar may travel to Mexico for one week to
18   attend his cousin’s wedding and family reunion from June 22, 2015 to June 29, 2015.
19   Mr. Tovar shall provide proof of his travel and hotel accommodations to Pre-Trial
20   Services. Mr. Tovar shall check-in telephonically with his Pretrial Services Officer
21   during his trip, as directed by the Pretrial Services Officer prior to departure.
22          IT IS FURTHER ORDERED that the Clerk of the District Court return
23   Moctezuma Tovar’s passport. Mr. Tovar’s passport will stay in the custody of defense
24   counsel, Thomas A. Johnson, until Mr. Tovar travels to the San Francisco, California in
25   the Northern District to renew his passport. Once Mr. Tovar obtains a renewed
26   passport, he will return it to defense counsel who shall release the passport back to Mr.
27   Tovar one day prior to his departure to Mexico. When Mr. Tovar returns from Mexico,
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 1   his passport shall be returned to the Clerk of the District Court the following business
 2   day.
 3          IT IS SO ORDERED.
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 5   Dated: May 13, 2015
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